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1                              UNITED STATES DISTRICT COURT
2                                     DISTRICT OF NEVADA
3     ROBERTO DURAND,                                      Case No. 3:21-cv-00477-RCJ-CLB
4                                            Plaintiff                    ORDER
5            v.
6     SAMANTHA CRAINE,
7                                         Defendant
8
9    I.     DISCUSSION

10          On November 8, 2021, Plaintiff, an inmate in the custody of the Nevada

11   Department of Corrections (“NDOC”), submitted a civil rights complaint under 42 U.S.C.

12   § 1983 and filed an application to proceed in forma pauperis. (ECF Nos. 1-1, 1).

13   Plaintiff’s application to proceed in forma pauperis is incomplete.         Plaintiff has not

14   submitted an inmate account statement for the previous six-month period with his

15   application.   Plaintiff is advised that a financial certificate and an inmate account

16   statement for the previous six-month period are two separate items. Plaintiff has provided

17   the required financial certificate, but he has not provided the required inmate account

18   statement (reflecting opening and closing balances) for the previous six-month period.

19          Under 28 U.S.C. § 1915(a)(2) and Local Rule LSR 1-2, an inmate seeking to begin

20   a civil action in this Court may apply to proceed in forma pauperis in order to file the civil

21   action without prepaying the full $402 filing fee. To apply for in forma pauperis status, the

22   inmate must submit all three of the following documents to the Court:

23          (1) a completed Application to Proceed in Forma Pauperis for Inmate, this

24          Court’s approved form (i.e. pages 1 through 3 with the inmate’s two signatures on

25          page 3),

26          (2) a Financial Certificate properly signed by both the inmate and a prison or jail

27          official (i.e. page 4 of this Court’s approved form), and

28          (3) a copy of the inmate’s prison or jail trust fund account statement for the
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1           previous six-month period.
2           Accordingly, the Court denies Plaintiff’s application to proceed in forma pauperis
3    (ECF No. 1) without prejudice because the application is incomplete. The Court will grant
4    Plaintiff a one-time extension to file a fully complete application to proceed in forma
5    pauperis containing all three of the required documents. Plaintiff will file a fully complete
6    application to proceed in forma pauperis on or before January 10, 2022. Absent unusual
7    circumstances, the Court will not grant any further extensions of time. If Plaintiff does not
8    file a fully complete application to proceed in forma pauperis with all three required
9    documents on or before January 10, 2022, this case will be subject to dismissal without
10   prejudice for Plaintiff to file a new case with the Court when Plaintiff is able to acquire all
11   three of the documents needed to file a fully complete application to proceed in forma
12   pauperis or pays the full $402 filing fee.
13          A dismissal without prejudice means Plaintiff does not give up the right to refile the
14   case with the Court, under a new case number, when Plaintiff has all three documents
15   needed to submit with the application to proceed in forma pauperis. Alternatively, Plaintiff
16   may choose not to file an application to proceed in forma pauperis and instead pay the
17   full filing fee of $402 on or before January 10, 2022 to proceed with this case.
18          The Court will retain Plaintiff’s civil rights complaint (ECF No. 1-1) but the Court
19   will not file the complaint unless and until Plaintiff timely files a fully complete application
20   to proceed in forma pauperis with all three documents or pays the full $402 filing fee.
21   II.    CONCLUSION
22          For the foregoing reasons, IT IS ORDERED that Plaintiff’s application to proceed
23   in forma pauperis (ECF No. 1) is denied without prejudice to file a new fully complete
24   application to proceed in forma pauperis with all three documents.
25          IT IS FURTHER ORDERED that the Clerk of the Court will send Plaintiff the
26   approved form application to proceed in forma pauperis by an inmate, as well as the
27   document entitled information and instructions for filing an in forma pauperis application.
28          IT IS FURTHER ORDERED that on or before January 10, 2022, Plaintiff will either



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1    pay the full $402 filing fee for a civil action (which includes the $350 filing fee and the $52
2    administrative fee) or file with the Court:
3           (1) a completed Application to Proceed in Forma Pauperis for Inmate on this
4           Court’s approved form (i.e. pages 1 through 3 of the form with the inmate’s two
5           signatures on page 3),
6           (2) a Financial Certificate properly signed by both the inmate and a prison or jail
7           official (i.e. page 4 of this Court’s approved form), and
8           (3) a copy of the inmate’s prison or jail trust fund account statement for the
9           previous six-month period.
10          IT IS FURTHER ORDERED that, if Plaintiff does not file a fully complete
11   application to proceed in forma pauperis with all three documents or pay the full $402
12   filing fee for a civil action on or before January 10, 2022, this case will be subject to
13   dismissal without prejudice for Plaintiff to refile the case with the Court, under a new case
14   number, when Plaintiff has all three documents needed to file a complete application to
15   proceed in forma pauperis or pays the the full $402 filing fee.
16          IT IS FURTHER ORDERED that the Clerk of the Court will retain the complaint
17   (ECF No. 1-1) but will not file it at this time.
18                  November 12, 2021
            DATED: __________________
19
                                                   ___________________________________
20                                                 UNITED STATES MAGISTRATE JUDGE
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